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and Sunovion Pharmaceuticals Inc.

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
SUMITOMO DAINIPPON PHARMA CO.,
LTD. and SUNOVION Civil Action No. 15-280 (SRC)(CLW)
PHARMACEUTICALS INC.,

(Filed Electronically)
Plaintiffs,

v.
EMCURE PHARMACEUTICALS USA,
INC. and EMCURE PHARMACEUTICALS
LTD.,

Defendants.

 

SUMITOMO DAINIPPON PHARMA CO.,
LTD. and SUNOVION Civil Action No. 15-6401 (SRC)(CLW)
PHARMACEUTICALS INC.,
(Filed Electronically)
Plaintiffs,

Vv.

TEVA PHARMACEUTICALS USA, INC.
and TEVA PHARMACEUTICAL
INDUSTRIES, LTD.,

 

Defendants.

 

FINAL JUDGMENT AND ORDER OF PERMANENT INJUNCTION
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WHEREAS, Defendants Emcure Pharmaceuticals USA, Inc. and Emcure
Pharmaceuticals, Ltd. (collectively, “Emcure”) submitted Abbreviated New Drug
Application No. 208058 (“Emcure’s ANDA”) seeking approval to engage in the
commercial manufacture, use, sale, and/or offer for sale within the United States, and/or
importation into the United States of generic lurasidone hydrochloride tablets 20 mg,

40 mg, 60 mg, and 80 mg for treatment of schizophrenia and depressive episodes
associated with Bipolar I Disorder (bipolar depression), as monotherapy and as
adjunctive therapy with lithium or valproate (collectively “Emcure’s ANDA Products”)

prior to the expiration of U.S. Patent No. 5,532,372 (“the ’372 patent”);

WHEREAS, Defendants Teva Pharmaceuticals USA, Inc. and Teva
Pharmaceutical Industries, Ltd. (collectively, “Teva”) submitted Abbreviated New Drug
Application No. 208060 (“Teva’s ANDA”) seeking approval to engage in the commercial
manufacture, use, sale, and/or offer for sale within the United States, and/or importation
into the United States of generic lurasidone hydrochloride tablets 20 mg, 40 mg, 60 mg,
80 mg, and 120 mg for treatment of schizophrenia and depressive episodes associated
with Bipolar I Disorder (bipolar depression), as monotherapy and as adjunctive therapy
with lithium or valproate (collectively “Teva’s ANDA Products”) prior to the expiration

the ’372 patent;

WHEREAS, Plaintiffs Sumitomo Dainippon Pharma Co., Ltd. and Sunovion
Pharmaceuticals Inc. (collectively, “Sunovion”) brought Civil Action No. 15-280 against

Emcure, alleging, among other things, that the submission of Emcure’s ANDA and

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Emcure’s ANDA Products infringe Claim 14 of the °372 patent, and Civil Action No.
15-6401 against Teva, alleging, among other things, that the submission of Teva’s

ANDA and Teva’s ANDA Products infringe Claim 14 of the °372 patent;

WHEREAS, on November 15, 2016, this Court issued an Opinion and Order

construing the following term of Claim 14: “[t]he imide compound of the formula:

H oO
> 4H
3 ROR iN
; R Ny
5 Y x,
" Q
,” as “lurasidone, lurasidone’s enantiomer, as well

as mixtures of these enantiomers” (“the Markman Decision”) [D.I. 106];

WHEREAS, Emcure and Teva have respectively agreed to stipulate that, under the
Court’s construction in the Markman Decision, the submission of Emcure’s ANDA and
Teva’s ANDA to the United States Food and Drug Administration (“FDA”) for the
purpose of obtaining regulatory approval to engage in the commercial manufacture, use,
sale, and/or offer for sale within the United States, and/or importation into the United
States of Emcure’s ANDA Products and Teva’s ANDA Products before the expiration of
the 372 patent were each an act of infringement of Claim 14 of the ’372 patent under

35 U.S.C. § 271(e)(2)(A);

WHEREAS, Sunovion, Emcure, and Teva have agreed to enter into a final
judgment that will permit Emcure and/or Teva to seek an appeal of the Markman

Decision (“the Appeal”); and
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WHEREAS, Sunovion, Emcure, and Teva have agreed to stipulate that Claim 14
of the °372 patent is valid and enforceable, and Emcure and Teva have further agreed that
they will not, whether directly or indirectly, challenge the patentability, validity, or

enforceability of the °372 patent in this or any other action.

The Court, upon the stipulation and request of Sunovion, Emcure, and Teva, and
for good cause shown, issues the following Final Judgment and Order of Permanent

Injunction.
IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

1. Sunovion, Emcure, and Teva do not contest personal jurisdiction in the
United States District Court for the District of New Jersey for the purposes of the

above-captioned actions only.

2. This Court retains exclusive jurisdiction to enforce or supervise

performance under this Final Judgment and Order of Permanent Injunction.

3. Emcure and Teva concede that Claim 14 of the ’372 patent is valid and

enforceable.

4, Judgment is entered in favor of Sunovion and against Emcure and Teva on

Emcure’s and Teva’s counterclaims that Claim 14 of the °372 patent is invalid.

5. Emcure, Teva, and their Affiliates shall not, directly or indirectly: (a)

challenge the patentability, validity, or enforceability of the ’372 patent; and/or (b) assist,

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encourage, support, finance, or otherwise provide any information to, any third party for
the purpose of challenging the patentability, validity, and/or enforceability of, and/or
asserting noninfringement of the ’372 patent.’ Such challenges to the patentability,
validity, or enforceability of the 372 patent include, but are not limited to, filing or
maintaining (1) a request for inter partes review; (2) a request for reexamination; (3) any
other pre- or post-grant proceeding in the United States Patent and Trademark Office; and

(4) a declaratory judgment action.

6. Emcure and Teva stipulate that, under the Court’s construction in the
Markman Decision, the submission of Emcure’s ANDA and Teva’s ANDA to the FDA
for the purpose of obtaining regulatory approval to engage in the commercial
manufacture, use, sale, and/or offer for sale within the United States, and/or importation
into the United States of Emcure’s ANDA Products and Teva’s ANDA Products before
the expiration of the ’372 patent were each an act of infringement of Claim 14 of the 372

patent under 35 U.S.C. § 271(e)(2)(A).

 

' For purposes of this Final Judgment and Order of Permanent Injunction, the term
“Affiliate” shall mean any entity controlling, controlled by, or under common control
with Emcure or Teva, but only as long as such control continues, where “control” means:
(1) ownership of at least fifty percent (50%) of the equity or beneficial interest of such
entity, or the right to vote for and/or appoint a majority of the board of directors or other
governing body of such entity; and/or (2) the power to directly or indirectly direct or
cause the direction of the management and policies of such entity by any means
whatsoever.
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7. Judgment of infringement of Claim 14 of the ’372 patent is hereby entered
in favor of Sunovion and against Emcure and Teva on Emcure’s and Teva’s

counterclaims that Claim 14 is not infringed.

8. Nothing herein shall be deemed to be an admission, acceptance, or adoption

by Emcure or Teva of the claim construction set forth in the Markman Decision.

9. Nothing herein shall preclude Emcure and Teva from pursuing the Appeal

upon entry of this Final Judgment and Order of Permanent Injunction.

10. ‘It is further stipulated and ordered that with the exception of paragraphs
3-5, Emcure and Teva do not waive any rights to seek modification of any portion of this
Final Judgment, including the injunctive relief granted, to the extent the Court’s claim
construction is modified on appeal. Sunovion does not waive any rights to oppose any

such request by Emcure and Teva.

11. In accordance with 35 U.S.C. § 271(e)(4)(A), the effective date of any
approval of Emcure’s ANDA No. 208058 shall be no earlier than January 2, 2019, the
date of the expiration of the ’372 patent, including any patent term extension and/or
adjustment, and the expiration of pediatric exclusivity under 21 U.S.C. § 355a awarded to
Sunovion. If Sunovion becomes entitled to any other exclusivities or patent term
extension and/or adjustment that are not referenced herein, Sunovion and/or Emcure may

apply to the Court for further relief as may be appropriate.
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12. Inaccordance with 35 U.S.C. § 271(e)(4)(B), Emcure and its Affiliates,
successors, partners, employees, agents, attorneys, and all those acting in privity or
concert with them, and who have received actual notice of this injunction by personal
service or otherwise, are hereby restrained and enjoined from engaging in the commercial
manufacture, use, sale, offer for sale, and/or distribution within the United States, and/or
importation into the United States of any lurasidone product that is the subject of
Emcure’s ANDA No. 208058 through and until January 2, 2019, the expiration of the
’372 patent, including any patent term extension and/or adjustment, and the expiration of
pediatric exclusivity under 21 U.S.C. § 355a awarded to Sunovion. If Sunovion becomes
entitled to any other exclusivities or patent term extension and/or adjustment that are not
referenced herein, Sunovion and/or Emcure may apply to the Court for further relief as

may be appropriate.

13. Inaccordance with 35 U.S.C. § 271(e)(4)(A), the effective date of any
approval of Teva’s ANDA No. 208060 shall be no earlier than January 2, 2019, the date
of the expiration of the ’372 patent, including any patent term extension and/or
adjustment, and the expiration of pediatric exclusivity under 21 U.S.C. § 355a awarded to
Sunovion. If Sunovion becomes entitled to any other exclusivities or patent term
extension and/or adjustment that are not referenced herein, Sunovion and/or Teva may

apply to the Court for further relief as may be appropriate.

14. In accordance with 35 U.S.C. § 271(e)(4)(B), Teva and its Affiliates,

successors, partners, employees, agents, attorneys, and all those acting in privity or

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concert with them, and who have received actual notice of this injunction by personal
service or otherwise, are hereby restrained and enjoined, from engaging in the
commercial manufacture, use, sale, offer for sale, and/or distribution within the United
States, and/or importation into the United States of any lurasidone product that is the
subject of Teva’s ANDA No. 208060 through and until January 2, 2019, the expiration of
the °372 patent, including any patent term extension and/or adjustment, and the expiration
of pediatric exclusivity under 21 U.S.C. § 355a awarded to Sunovion. If Sunovion
becomes entitled to any other exclusivities or patent term extension and/or adjustment
that are not referenced herein, Sunovion and/or Teva may apply to the Court for further

relief as may be appropriate.

15. Nothing herein shall be deemed an admission of validity, enforceability or
infringement of any claim other than Claim 14 of the ’372 patent, or any other patent not

asserted in the above-captioned actions.

16. Except as provided herein, all remaining claims and counterclaims as well
as all pending motions between Sunovion, Emcure, and Teva are dismissed or denied
without prejudice as moot, but may be reinstated at the request of the moving party

should the case be remanded to this Court for further proceedings.
IT IS HEREBY STIPULATED:

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Dated: February 7, 2017

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IT IS SO ORDERED, this [5 day of _7 Lage , 2017
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_~ Fon. Stanley R. Chesler, U.S.D.J.
